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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-01&lt;A NAME="1"&gt;&lt;/A&gt;-00&lt;A NAME="2"&gt;278&lt;/A&gt;-CV&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;In re Reagan National Advertising&lt;/A&gt;&lt;/CENTER&gt;


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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING FROM TRAVIS COUNTY&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

&lt;P&gt;	The real parties in interest's motion to dismiss is granted.  The relator's petition
for writ of mandamus, or in the alternative, for writ of prohibition, and motion for temporary
relief are hereby ordered dismissed. &lt;/P&gt;

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&lt;P&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/P&gt;

&lt;P&gt;Filed:   May 31, 2001&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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